                     EXHIBIT 1




Case 1:19-cv-00015-WCG Filed 04/15/19 Page 1 of 9 Document 23-1
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

                                                              file.” (1st Am. Compl. ¶ 25, ECF No. 16; Compl. Ex. D,
                                                              ECF No. 1-5). In Response, Equifax sent her a “credit
                 2018 WL 6726311
                                                              report,” which was “not responsive to her request.” (1st
   Only the Westlaw citation is currently available.
                                                              Am. Compl. ¶ 26). After receiving a response from
     United States District Court, D. Maryland.
                                                              Equifax that “did not comply with the request made,”
             Erien Lois FRAZIER, Plaintiff,                   Erien sent Equifax a “second and final request for a full
                          v.                                  consumer file disclosure” on October 11, 2017. (Id. ¶ 31;
              EXPERIAN INFORMATION                            Compl. Ex. G, ECF No. 1-8). In response to this request,
                                                              Equifax again sent her a “credit report” that was “not
            SOLUTIONS, et al., Defendants.
                                                              responsive to her request.” (1st Am. Compl. ¶ 34; Pl.'s
               Civil Action No. GLR-18-68                     Opp'n Defs.' Mot. Dismiss [“Pl.'s Opp'n”] Ex. A, ECF
                             |                                No. 21-1). She asserts that Equifax’s file on her contains
                    Signed 12/21/2018                         “substantial information relating to [her] ... that has not
                                                              been disclosed to her.” (1st Am. Compl. ¶ 40).
Attorneys and Law Firms
                                                               *2 On January 9, 2018, Erien, proceeding pro se, filed
Erien Lois Frazier, Hagerstown, MD, pro se.                   the present action against Equifax, Experian, and Trans
                                                              Union LLC (“Trans Union”). (ECF No. 1). Equifax filed
Jon G. Heintz, Jones Day, Washington, DC, Robert J.
                                                              a Motion to Dismiss Plaintiff’s Complaint on March
Schuckit, Schuckit & Associates, P.C., Zionsville, IN,
                                                              12, 2018. (ECF No. 13). In response, Erien filed a First
Nathan Daniel Adler, Neuberger Quinn Gielen Rubin and
                                                              Amended Complaint (the “Amended Complaint”) on
Gibber PA, Baltimore, MD, for Defendants.
                                                              April 2, 2018, which added EIS as a Defendant. (Mar. 29,
                                                              2018 Ltr., ECF No. 16-3). In her three-Count Amended
                                                              Complaint, Erien alleges that Defendants violated the
             MEMORANDUM OPINION
                                                              Fair Credit Reporting Act (the “FCRA”), 15 U.S.C. §
George L. Russell, III, United States District Judge          1681g(a)(1) (2018). (1st Am. Compl. ¶¶ 52–63). Erien seeks
                                                              statutory damages, attorney’s fees, and costs from each
 *1 THIS MATTER is before the Court on three                  Defendant. (Id. at 12–13).
Motions: Defendants Equifax Inc.’s (“Equifax”) and
Equifax Information Services LLC’s (“EIS”) (collectively,     Equifax Defendants now move to dismiss the claims
the “Equifax Defendants”) Motion to Dismiss First             against them. (ECF No. 19). On May 7, 2018, Erien filed
Amended Complaint and Brief in Support of Motion              an Opposition. (ECF No. 21). Equifax Defendants filed a
(ECF No. 19); Plaintiff Erien Lois Frazier’s (“Erien”) 1      Reply on May 21, 2018. (ECF No. 22). 5
Motion for Leave to File Second Amended Complaint
and Memorandum of Law in Support (ECF No. 24);                On August 17, 2018, Erien filed a Motion for Leave to File
and Defendant Experian Information Solutions, Inc.’s          Second Amended Complaint and Memorandum of Law
(“Experian”) Motion to Transfer Related Case (ECF No.         in Support. (ECF No. 24). Equifax Defendants filed an
29). 2 The Motions are ripe for disposition, and no hearing   Opposition on August 31, 2018. (ECF No. 28). To date,
is necessary. See Local Rule 105.6 (D. Md. 2018). For         the Court has no record that Erien filed a Reply.
the reasons outlined below, the Court will grant Equifax
Defendants' Motion, grant Erien’s Motion, and deny            On November 1, 2018, Experian filed a Motion to
Experian’s Motion.                                            Transfer Related Case. (ECF No. 29). To date, the Court
                                                              has no record that any of the parties filed an Opposition.



                  I. BACKGROUND 3
                                                                                  II. DISCUSSION

On September 14, 2017, Erien sent Equifax 4 a written         A. Motion to Transfer Related Case
request for “ALL INFORMATION in [her] consumer
                                                                                                             EXHIBIT
                                                                                                                    1
             Case  1:19-cv-00015-WCG
              © 2019                        Filed
                     Thomson Reuters. No claim     04/15/19
                                               to original      Page 2 of 9Works.
                                                           U.S. Government   Document 23-1                            1
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

Experian requests that the Court transfer this case to        *3 Thus, the Court concludes that a transfer is not
the judge that is presiding over Joahn Barron Frazier v.      warranted. Accordingly, the Court will deny Experian’s
Experian Information Solutions Inc., et al., No. 18-067-      Motion.
JKB (D. Md. closed Nov. 30, 2018), because it is a related
case.
                                                              B. Motion to Dismiss
Local Rule 103.1.b.i provides that a plaintiff may
                                                                 1. Standard of Review
designate a case as related to another case or cases
                                                              The purpose of a Rule 12(b)(6) motion is to “test[ ]
“previously decided or pending” if, in relevant part,
                                                              the sufficiency of a complaint,” not to “resolve contests
they: (1) “arise from the same or identical transactions,
                                                              surrounding the facts, the merits of a claim, or the
happenings, or events”; (2) “involve the identical parties
                                                              applicability of defenses.” King v. Rubenstein, 825 F.3d
or property”; or (3) “for any other reason would entail
                                                              206, 214 (4th Cir. 2016) (quoting Edwards v. City of
substantial duplication of labor if heard by different
                                                              Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999) ). A
judges.” If the plaintiff does not designate a case as
                                                              complaint fails to state a claim if it does not contain
related to a prior case, defense counsel “shall bring that
                                                              “a short and plain statement of the claim showing that
information to the attention of all parties and the Clerk.”
                                                              the pleader is entitled to relief,” Fed.R.Civ.P. 8(a)(2),
Local Rule 103.1.b.ii. Any disputes regarding whether
                                                              or does not “state a claim to relief that is plausible on
a case is related to another case “shall be presented by
                                                              its face,” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
motion to the judge to whom the new or later case has been
                                                              (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
assigned.” Local Rule 103.1.b.iii.
                                                              (2007) ). A claim is facially plausible “when the plaintiff
                                                              pleads factual content that allows the court to draw the
Experian contends that the cases are related because
                                                              reasonable inference that the defendant is liable for the
“both Plaintiffs make the same factual allegations and
                                                              misconduct alleged.” Id. (citing Twombly, 550 U.S. at
assert the same causes of action against the same
                                                              556). “Threadbare recitals of the elements of a cause of
Defendants.” (Mot. Transfer Related Case at 4, ECF
                                                              action, supported by mere conclusory statements, do not
No. 29). Experian maintains that having the same
                                                              suffice.” Id. (citing Twombly, 550 U.S. at 555). Though
judge resolve both cases would prevent a duplication
                                                              the plaintiff is not required to forecast evidence to prove
of effort and “would avoid inconsistent results.” (Id.).
                                                              the elements of the claim, the complaint must allege
While Experian raises valid points, the Court nevertheless
                                                              sufficient facts to establish each element. Goss v. Bank
declines to transfer this case for at least three reasons.
                                                              of Am., N.A., 917 F.Supp.2d 445, 449 (D. Md. 2013)
                                                              (quoting Walters v. McMahen, 684 F.3d 435, 439 (4th Cir.
First, even though Joahn and Erien filed similar
                                                              2012) ), aff'd sub nom., Goss v. Bank of Am., NA, 546
Complaints that bring the same causes of action
                                                              F.App'x 165 (4th Cir. 2013).
against the same Defendants, they do not “arise from
the same or identical transactions, happenings, or
                                                              In considering a Rule 12(b)(6) motion, a court must
events.” Local Rule 103.1.b.i.(1). Joahn and Erien sent
                                                              examine the complaint as a whole, consider the factual
separate correspondence to each Defendant and received
                                                              allegations in the complaint as true, and construe the
separate responses. Second, the cases do not involve
                                                              factual allegations in the light most favorable to the
identical parties—Joahn and Erien are different plaintiffs.
                                                              plaintiff. Albright v. Oliver, 510 U.S. 266, 268 (1994);
Moreover, because they are different individuals, they
                                                              Lambeth v. Bd. of Comm'rs of Davidson Cty., 407 F.3d
have their own distinct credit histories, and, as a
                                                              266, 268 (4th Cir. 2005) (citing Scheuer v. Rhodes, 416
result, different information that Defendants may have
                                                              U.S. 232, 236 (1974) ). But, the court need not accept
failed to disclose. Third, Experian’s concerns over
                                                              unsupported or conclusory factual allegations devoid of
duplicating efforts and avoiding inconsistent outcomes
                                                              any reference to actual events, United Black Firefighters
are unwarranted. The Court has the benefit of this Court’s
                                                              v. Hirst, 604 F.2d 844, 847 (4th Cir. 1979), or legal
opinions in Frazier to guide its decisions in this case.
                                                              conclusions couched as factual allegations, Iqbal, 556 U.S.
                                                              at 678.




             Case  1:19-cv-00015-WCG
              © 2019                        Filed
                     Thomson Reuters. No claim     04/15/19
                                               to original      Page 3 of 9Works.
                                                           U.S. Government   Document 23-1                            2
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

Pro se pleadings, such as Erien’s, are liberally construed       Info. Sols., Inc., No. 18-CV-60178-ALTONAGA/Seltzer,
and held to a less stringent standard than pleadings             2018 WL 3360754, at *4–5 (S.D. Fla. June 29, 2018)
drafted by lawyers. Erickson v. Pardus, 551 U.S. 89, 94          (concluding that Equifax’s argument that it is not a
(2007) (citing Estelle v. Gamble, 429 U.S. 97, 106 (1976)        CRA is “more appropriately presented and resolved
); accord Brown v. N.C. Dep't of Corr., 612 F.3d 720, 722        at summary judgment”); Jones v. Equifax, Inc., No.
(4th Cir. 2010). Pro se complaints are entitled to special       3:14cv678, 2015 WL 5092514, at *4 n.11 (E.D. Va. Aug.
care to determine whether any possible set of facts would        27, 2015) (noting that “every decision” Equifax cited “was
entitle the plaintiff to relief. Hughes v. Rowe, 449 U.S.        rendered at the summary judgment stage,” and therefore
5, 9–10 (1980). Nonetheless, “[w]hile pro se complaints          “cannot provide persuasive support for the Defendants'
may ‘represent the work of an untutored hand requiring           position at the Motion to Dismiss stage”). Indeed, Erien
special judicial solicitude,’ a district court is not required   correctly notes that the cases Equifax Defendants cite
to recognize ‘obscure or extravagant claims defying the          determined the defendant’s status as a CRA at the
most concerted efforts to unravel them.’ ” Weller v. Dep't       summary judgment stage. 7 As a result, to survive a
of Soc. Servs. for Balt., 901 F.2d 387, 391 (4th Cir. 1990)      motion to dismiss on this basis, a plaintiff only needs
(quoting Beaudett v. City of Hampton, 775 F.2d 1274,             to “plead sufficient facts” to permit the Court to draw
1277 (4th Cir. 1985) ).                                          “a reasonable inference that the defendant is a CRA.”
                                                                 Frazier, 2018 WL 3785131, at *3 (citing Scott, 2018 WL
                                                                 3360754, at *5).
   2. Analysis
 *4 Equifax Defendants advance two main arguments for
                                                                  *5 In Frazier, this Court compared Joahn’s allegations
dismissing the First Amended Complaint: (1) Equifax is
                                                                 that Equifax is a CRA to those in Scott. Id. This Court
not a “consumer reporting agency” (“CRA”) as defined
                                                                 noted that in Scott, the U.S. District Court for the
under the FCRA; and (2) the First Amended Complaint
                                                                 Southern District of Florida relied on three supporting
fails to plead sufficient facts to state a claim under § 1681g
                                                                 facts in denying Equifax’s motion to dismiss on the
of the FCRA. The Court addresses these arguments in
                                                                 grounds that it is not a CRA. Id. The Scott plaintiff alleged
turn.
                                                                 that “he submitted two requests for his full consumer
                                                                 file disclosures to Equifax and received responses from
                                                                 Equifax” and that “Equifax operate[d] as a seller of
             a. “Consumer Reporting Agency”                      credit report information.” Id. (alteration in original)
                                                                 (citing Scott, 2018 WL 3360754, at *4). In addition, the
Equifax Defendants maintain that Equifax is not a CRA            Scott plaintiff attached “a letter from Equifax sent in
as defined under the FCRA—EIS is. 6 Erien counters that          response to the plaintiff’s request,” which, standing alone,
Equifax is a CRA because, among other reasons, it has            “provided ‘a reasonable inference that Equifax is a CRA.’
repeatedly presented itself to consumers and regulators          ” Id. (citing Scott, 2018 WL 3360754, at *5).
as a CRA. Erien also contends that the cases Equifax
Defendants cite for the proposition that Equifax is not a        Comparing Joahn’s allegations to those in Scott, this
CRA were decided at the summary judgment stage, not at           Court concluded that Joahn’s factual support was
the motion to dismiss stage. The Court first addresses if it     sufficient “to overcome Defendants' motion to dismiss
can determine whether Equifax is a CRA at this stage in          with respect to Equifax’s contention that it is not a CRA.”
the litigation.                                                  Id. In so doing, this Court relied on Joahn’s assertion that
                                                                 she “sent two requests to Equifax and, in response to her
Federal district courts typically decide whether a               second request, received a ‘credit report’ with ‘the name
defendant is a CRA on “a motion for summary judgment,            “EQUIFAX” in big bold letters on the first page’ of the
not through a motion to dismiss.” Frazier v. Experian            report.” Id. This Court noted that although Joahn had
Info. Sols., Inc., No. JKB-18-0067, 2018 WL 3785131,             redacted the substance of the report she received from
at *3 (D. Md. Aug. 9, 2018) (footnote omitted); see id.          Equifax, the report, combined with her factual allegations,
(“If Equifax has evidence that would refute the Court’s          provided enough information to reasonably infer that
conclusion, it may file a motion for summary judgment            Equifax is a CRA. Id. at *3–4.
and present its evidence to the Court.”); Scott v. Experian



              Case  1:19-cv-00015-WCG
               © 2019                        Filed
                      Thomson Reuters. No claim     04/15/19
                                                to original      Page 4 of 9Works.
                                                            U.S. Government   Document 23-1                                3
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

Here, as in Frazier and Scott, Erien alleges that she
sent two written requests to Equifax, and received a              In the wake of Twombly and Iqbal, a complaint wholly
“credit report which was not responsive to her request”           based “upon information and belief” is “insufficient to
in response to each. (Am. Compl. ¶¶ 23–26, 31, 34).               defeat a motion to dismiss.” Mann Bracken, LLP v.
Like Joahn alleged, Erien asserts that, in response to            Exec. Risk Indemnity, Inc., Civ. No. DKC 15-1406, 2015
her requests, she received “a credit report with the              WL 5721632, at *7 (D. Md. Sept. 28, 2015) (quoting
name ‘EQUIFAX’ in big bold letters on the first page.”            Harman v. Unisys Corp., 356 F.App'x 638, 640–41 (4th
Compare (Pl.'s Opp'n at 4, ECF No. 21), 8 with Frazier,           Cir. 2009) ). There is, however, a distinction to be
2018 WL 3785131, at *3 (noting that Joahn “received a             drawn between complaints that use “upon information
‘credit report’ with ‘the name “EQUIFAX” in big bold              and belief” as an “inadequate substitute” for providing
letters on the first page’ of the report”). Likewise, Erien       sufficient facts on the one hand, and properly using
provides a heavily redacted copy of the credit report she         this phrase “where a plaintiff does not have personal
received in response to her second request. Compare (Pl.'s        knowledge of the facts being asserted” on the other.
Opp'n Ex. A), with Frazier, 2018 WL 3785131, at *3.               Malibu Media, LLC v. Doe, No. PWG-13-365, 2014 WL
The report shows only Equifax’s logo, its internet address,       7188822, at *4 (D. Md. Dec. 16, 2014) (quoting Lilley
Erien’s name and address, and indicates that it is “Page 1        v. Wells Fargo N.A.) (In re Lilley), No. 10-81078C-13D,
                                                                  2011 WL 1428089, at *3 (Bank. M.D.N.C. Apr. 13, 2011).
of 18.” (Pl.'s Opp'n Ex. A). 9 As in Frazier, it is reasonable
                                                                  When the plaintiff does not have personal knowledge,
to infer that this is the first page of a credit report Equifax
                                                                  and employs “upon information and belief” with “specific
sent to Erien. See Frazier, 2018 WL 3785131, at *3. Thus,
                                                                  factual allegations,” it may be enough to survive a motion
Erien’s factual averments, combined with the redacted
                                                                  to dismiss. Frazier, 2018 WL 3785131, at *4 (quoting Doe
copy of the report, are sufficient to survive Equifax’s
                                                                  v. Salisbury Univ., 123 F.Supp.3d. 748, 768 (D. Md. 2015)
motion on the basis that it is not a CRA. 10 See id.; Scott,      ).
2018 WL 3360754, at *4–5.
                                                                  Frazier again guides the Court’s decision with regard
 *6 Accordingly, to the extent Equifax moves for                  to this argument. In Frazier, this Court, comparing
dismissal on the grounds that it is not a CRA, the Court          the plaintiff’s allegations—based upon information and
will deny the Motion. 11                                          belief—to those in Scott, concluded that they lacked
                                                                  sufficient factual matter to overcome Equifax’s motion
                                                                  to dismiss. 2018 WL 3785131, at *5–6. In reaching its
                                                                  conclusion, this Court noted several deficient allegations
                      b. FCRA § 1681g
                                                                  that were speculative and illustrated Joahn’s lack of direct
Equifax Defendants argue that Erien fails to plead                knowledge. First, Joahn alleged “[u]pon information and
sufficient facts to establish a claim under § 1681g               belief” that “there is substantial information relating to
of the FCRA. Specifically, Equifax Defendants assert              [her] that is contained in all Defendants' files that has not
that the First Amended Complaint lacks “any factual               been disclosed to her.” Id. at *5 (alterations in original)
enhancement that specific information that should have            (quoting First Am. Compl. ¶ 34). She further alleged that
been in the disclosure was missing.” (Defs.' Mot.                 she had “no direct knowledge” of the information about
Dismiss 1st Am. Compl. [“Defs.' Mot.”] at 13, ECF                 her contained in the defendants' files. Id. (quoting First
No. 19). Erien contends that the First Amended                    Am. Compl. ¶ 32). Second, Joahn “speculate[d]” as to
Complaint provides sufficient factual allegations to              several omissions, including:
survive Equifax Defendants' Motion—namely, that she
                                                                     *7 information that was previously shown in her credit
“properly requested her full consumer file disclosure, not
                                                                    reports that is now archived and additional information
a credit report, several times and [Equifax] Defendants
                                                                    that is provided to prospective creditors, insurers or
failed to comply.” (Pl.'s Opp'n at 8) (citation and emphasis
                                                                    employers who request information on Plaintiff that she
omitted). Erien alleges “[u]pon information and belief”
                                                                    has never seen or has been made aware of [and]
that there is “substantial information” pertaining to her in
Equifax Defendants' files “that has not been disclosed to           ... [information containing] negative codes among other
her.” (1st Am. Compl. ¶ 40).                                        things that are provided to prospective creditors,


              Case  1:19-cv-00015-WCG
               © 2019                        Filed
                      Thomson Reuters. No claim     04/15/19
                                                to original      Page 5 of 9Works.
                                                            U.S. Government   Document 23-1                                 4
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

  insurers or employers which directly affect how that          have a “nefarious reason” for not providing the omitted
  prospective creditor, insurer or employer would view          information, (id. ¶ 48), and that such information “may
  the Plaintiff in terms of granting credit, rating insurance   have been at some time in the past provided to an
  policies or providing employment or even providing            unknown third party or might be provided at some time
  housing.                                                      in the future to a third party,” (id. ¶ 45). Like in Frazier,
                                                                Erien does not set forth “specific factual allegations”
Id. (quoting First Am. Compl. ¶¶ 34, 35). She also asserted     which lead her to believe that Equifax Defendants failed
that she had “not had access to all information in her full     to provide her information as required under the FCRA.
consumer file that may have been at some time in the past       Frazier, 2018 WL 3785131, at *6 (quoting Scott, 2018 WL
provided to an unknown third party or might be provided         3360754, at *7). As a result, the Court cannot plausibly
at some time in the future to a third party.” Id. at *5–        infer that Equifax Defendants violated § 1681g(a)(1) of the
6 (quoting First Am. Compl. ¶ 39 (emphasis omitted) ).          FCRA. Id.
Finally, she pled,
                                                                 *8 Thus, the Court concludes that the First Amended
                                                                Complaint fails to state a claim. Accordingly, the Court
            One can only surmise that there                     will grant Equifax Defendants' Motion. The Court next
            must be some nefarious reason                       considers whether to grant Erien leave to amend.
            why that information should not
            be provided to the consumer.... It
            obviously must contain information                  C. Motion for Leave to File Second Amended Complaint
            that the consumer has never seen,                   Erien requests leave of the Court to file a Second Amended
            and the consumer reporting agencies                 Complaint that provides additional facts to “raise it above
            don't want her to see it for some                   the assertion of presenting “conclusory allegations.” 13
            unknown reason.                                     (Pl.'s Mot. Leave File 2d Am. Compl. [“Pl.'s Mot.”] at 1,
                                                                ECF No. 24).

Id. at *6 (quoting First Am. Compl. ¶ 43).                      There is a “federal policy in favor of resolving cases on
                                                                the merits instead of disposing of them on technicalities.”
Ultimately, this Court concluded that Joahn’s conclusory        Mayfield v. Nat'l Ass'n for Stock Car Auto Racing, Inc.,
factual allegations based “upon information and belief”         674 F.3d 369, 379 (4th Cir. 2012) (quoting Matrix Capital
were not enough to permit it to infer that the defendants       Mgmt. Fund, LP v. BearingPoint, Inc., 576 F.3d 172, 193
violated § 1681g(a)(1) of the FCRA. Id. In reaching its         (4th Cir. 2009) ). To satisfy this policy, the court gives
conclusion, this Court emphasized Joahn’s admission that        a plaintiff “every opportunity to cure formal defects in
she had “no direct knowledge” of the content omitted            her pleading. This is true even though the court doubts
from the defendants' files and use of the words “may” and       that [the] plaintiff will be able to overcome the defects in
“might,” which indicated “speculation.” Id.                     his initial pleading.” Ostrzenski v. Seigel, 177 F.3d 245,
                                                                253 (4th Cir. 1999) (citing 5A Charles Allen Wright &
In this case, the allegations contained in Erien’s First        Arthur R. Miller, Federal Practice and Procedure § 1357,
Amended Complaint are exactly the same as those                 at 360–67 (2d ed. 1990) ). The court only denies leave to
this Court deemed deficient in Frazier. Erien alleges           amend a complaint when “it appears to a certainty that
“[u]pon information and belief” that there is “substantial      [the] plaintiff cannot state a claim.” Id. (quoting Wright
information” pertaining to her in Equifax Defendants'           & Miller, supra, § 1357). Indeed, “[t]he better practice
files “that has not been disclosed to her.” (1st Am. Compl.     is to allow at least one amendment regardless of how
¶ 40). Likewise, Erien concedes that she has “no direct         unpromising the initial pleading appears because except in
knowledge” of the “specific information” that “might            unusual circumstances it is unlikely that the court will be
be” in Equifax Defendants' files on her. (Id. ¶ 38). Erien      able to determine conclusively on the face of a defective
then lists verbatim the speculative omissions from Frazier      pleading whether plaintiff actually can state a claim.” Id.
                                                                (quoting Wright & Miller, supra, § 1357).
detailed above. (Id. ¶¶ 40–41). 12 She also presents the
same theory, word-for-word, that Equifax Defendants'


             Case  1:19-cv-00015-WCG
              © 2019                        Filed
                     Thomson Reuters. No claim     04/15/19
                                               to original      Page 6 of 9Works.
                                                           U.S. Government   Document 23-1                                5
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

Consonant with the federal policy in favor of resolving         Here, Erien asserts that she is “simply seeking to
cases on their merits, Rule 15(a)(2) provides that “[t]he       adequately present her allegations by appropriately
court should freely give leave [to amend a complaint] when      addressing [Equifax Defendants'] claim that [she] failed
justice so requires.” Justice does not require permitting       to point to specific information in her file and therefore
leave to amend when amendment would prejudice the               was presenting ‘speculative guesswork’.” (Pl.'s Mot. at
opposing party, the moving party has exhibited bad faith,       3). Erien’s proposed amendments confirm this assertion.
or amendment would be futile. See Edell & Assocs., P.C.         The proposed Second Amended Complaint alleges
v. Law Offices of Peter G. Angelos, 264 F.3d 424, 446           that information on “outdated and disputed federal
(4th Cir. 2001) (citing Edwards, 178 F.3d at 242). “[D]elay     loans” were in Equifax Defendants' files, and that this
alone is not sufficient reason to deny leave to amend.”         information “had been included in a conventional credit
Johnson v. Oroweat Foods Co., 785 F.2d 503, 509 (4th            report she had received previously.” (2d Am. Compl.
Cir. 1986).                                                     ¶ 40, ECF No. 24-1). Erien further alleges that such
                                                                information will “produce negative codes that can impact
Furthermore, “[a]lthough there is nothing improper              [her] ability to borrow.” (Id. ¶ 43). Erien bolsters her
in shoring up a complaint’s allegations to address              allegations by providing reports from Trans Union that
deficiencies identified in a motion to dismiss, ‘repeated       she received during a 2016 lawsuit against the company.
failure to cure deficiencies by amendments previously           (Frazier Aff. ¶¶ 5–6, ECF No. 24-3; Mot. Leave File
allowed’ is a sufficient basis to deny amendment of             Seal Exs. M, N, ECF Nos. 27-4, 27-5 (sealed) ). Erien
pleadings.” Young v. Giant Food Stores, LLC, 108                avers that the information Trans Union provided “was
F.Supp.3d 301, 323 (D. Md. 2015) (quoting Foman v.              more detailed than ordinary credit reports” and that “[her]
Davis, 371 U.S. 178, 182 (1962) ); see Heavener v. Quicken      belief” is that Equifax Defendants have “similar detailed
Loans, Inc., No. 3:12-CV-68, 2013 WL 1314563, at *3             consumer file information.” (Frazier Aff. ¶¶ 6–7; see Mot.
(N.D.W. Va. Mar. 26, 2013) (finding no prejudice when           Leave File Seal Ex. N (sealed) ).
the plaintiff filed only one motion for leave to amend and
had not exhibited a repeated failure to cure deficiencies in    Equifax Defendants narrowly construe these amendments
the complaint).                                                 to relate only to information allegedly omitted from Trans
                                                                Union’s reports. As a result, Equifax Defendants argue,
 *9   Equifax Defendants contend that Erien’s                   they “offer no factual support” for her allegations against
amendments are futile and are made in bad faith. The            them. 14 (Defs.' Opp'n at 6, ECF No. 28). The Court does
Court disagrees.                                                not read Erien’s amendments so narrowly.

                                                                Bearing in mind that pro se pleadings are construed
                         1. Futility                            liberally, the Court reads Erien’s allegations to mean
                                                                that Equifax Defendants' information on her contains the
Leave to amend would be futile when an amended                  same erroneous student loan information as was in Trans
complaint could not survive a motion to dismiss for             Union’s files. Indeed, Erien’s amendment specifies the
failure to state a claim. See U.S. ex rel. Wilson v. Kellogg    “substantial information” Defendants purportedly have
Brown & Root, Inc., 525 F.3d 370, 376 (4th Cir. 2008).          in their files on her that is not disclosed in her credit
“Leave to amend, however, should only be denied on the          reports. (See 2d Am. Compl. ¶ 40). Erien, therefore,
ground of futility when the proposed amendment is clearly       provides “specific factual allegations” pertaining to the
insufficient or frivolous on its face.” Johnson, 785 F.2d at    information Equifax Defendants purportedly omitted
510 (citing Davis v. Piper Aircraft Corp., 615 F.2d 606, 613    from the reports she received. See Frazier, 2018 WL
(4th Cir. 1980) ); see TFFI Corp. v. Williams, No. DKC          3785131, at *6 (quoting Scott, 2018 WL 3360754, at *7).
13-1809, 2015 WL 5008708, at *2 (D. Md. Aug. 20, 2015)          Thus, Erien’s proposed amendments are not futile.
(“Although the viability of Plaintiff’s claims will be tested
by the anticipated dispositive motions, Plaintiff’s motion
for leave to amend alleges enough plausible facts against
                                                                                       2. Bad faith
the remaining defendants to not be futile.”).




              Case  1:19-cv-00015-WCG
               © 2019                        Filed
                      Thomson Reuters. No claim     04/15/19
                                                to original      Page 7 of 9Works.
                                                            U.S. Government   Document 23-1                             6
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

 *10 Equifax Defendants argue that the “timing,                   for leave to amend may be used to shore up pleading
                                                                  deficiencies. Gomer v. Home Depot U.S.A., Inc., No.
substance, and content” of Erien’s Motion demonstrate
                                                                  GLR-16-356, 2016 WL 5791226, at *5 (D. Md. Oct. 4,
that it is made in bad faith. (Defs.' Opp'n at 7). They
                                                                  2016). Thus, the Court concludes that there is no evidence
highlight that Erien already amended her Complaint once
                                                                  that Erien’s amendments are made in bad faith.
in response to Equifax’s first Motion to Dismiss. They
further note that Erien filed her Motion eight days after
                                                                  In sum, Erien’s proposed amendments allege sufficient
the Frazier decision, after Equifax Defendants' second
                                                                  facts to state a claim for a violation of § 1681g(a)(1) of the
Motion to Dismiss was fully briefed, and eight months
                                                                  FRCA and are not taken in bad faith. Accordingly, the
after she filed suit.
                                                                  Court will grant Erien’s Motion.
Here, the Court finds no evidence of delay. In any
event, delay alone is not enough to deny Erien’s Motion.
Johnson, 785 F.2d at 509. As discussed above, many of                                  III. CONCLUSION
the new factual allegations in Erien’s proposed Second
Amended Complaint attempt to remedy deficiencies                  For the foregoing reasons, the Court will grant
Equifax Defendants identified in their Motion to Dismiss          Equifax Defendants' Motion to Dismiss First Amended
and that this Court addressed in Frazier. As long as              Complaint and Brief in Support of Motion (ECF No. 19),
Erien has not repeatedly failed to remedy deficiencies            grant Erien’s Motion for Leave to File Second Amended
through amendments the Court previously allowed, there            Complaint and Memorandum of Law in Support (ECF
is nothing improper with Erien using her Second Amended           No. 24), and deny and Experian’s Motion to Transfer
Complaint to allege additional facts in response to               Related Case (ECF No. 29). A separate order follows.
Equifax Defendants' Motion to Dismiss. See Young,
108 F.Supp.3d at 323 (quoting Foman, 371 U.S. at
                                                                  All Citations
182). Because this is the first time Erien has moved for
leave to amend, she has not repeatedly failed to remedy           Slip Copy, 2018 WL 6726311
deficiencies, and she has not acted in bad faith, a motion


Footnotes
1      Because the Court discusses, infra, a related case, in which the plaintiff has the same last name, Joahn Barron Frazier
       v. Experian Information Solutions Inc., et al., No. 18-067-JKB (D. Md. closed Nov. 30, 2018), the Court refers to Erien
       Frazier and Joahn Frazier by their first names to avoid confusion.
2      Also pending before the Court is Equifax’s Motion to Dismiss Plaintiff’s Complaint (ECF No. 13). Equifax filed this Motion
       on March 12, 2018. (ECF No. 13). In response, Erien filed a First Amended Complaint on April 2, 2018. (ECF No. 16).
       When a plaintiff files an amended complaint, it generally moots any pending motions to dismiss because the original
       complaint is superseded. Venable v. Pritzker, No. GLR-13-1867, 2014 WL 2452705, at *5 (D. Md. May 30, 2014), aff'd,
       610 F.App'x 341 (4th Cir. 2015). Accordingly, the Court will deny the Motion as moot.
       In addition, pending before the Court is Erien’s unopposed Motion for Leave to Seal Exhibits D, G, I, M & N and
       Memorandum of Law in Support (ECF No. 26). In her Motion, Erien requests that the Court seal exhibits to her Motion for
       Leave to File a Second Amended Complaint because they contain personal financial information. Because the Exhibits
       contain sensitive personal financial information and Defendants do not oppose their sealing, the Court concludes that
       sealing is warranted. Accordingly, the Court will grant Erien’s Motion.
3      Unless otherwise noted, the Court takes the following facts from Erien’s First Amended Complaint and accepts them
       as true. See Erickson v. Pardus, 551 U.S. 89, 94 (2007) (citations omitted). Though Erien makes the same allegations
       against each Defendant, the Court confines its discussion to the ones pertaining to Equifax Defendants.
4      In the Background section only, the Court uses “Equifax” to mean the entity to which Erien allegedly directed her requests.
       The Court expresses no opinion on whether her requests were directed at Equifax, EIS, or both.
5      On August 9, 2018, Equifax Defendants filed a Notice of Supplemental Authority. (ECF No. 23). The Notice informed the
       Court of an August 8, 2018 decision in Joahn Barron Frazier, No. 18-067-JKB. The Court considered this decision when
       deciding whether to grant or deny the pending dispositive Motions.




             Case  1:19-cv-00015-WCG
              © 2019                        Filed
                     Thomson Reuters. No claim     04/15/19
                                               to original      Page 8 of 9Works.
                                                           U.S. Government   Document 23-1                                     7
Frazier v. Experian Information Solutions, Slip Copy (2018)
2018 WL 6726311

6      Equifax Defendants also argue that Erien appears to allege that the corporate veil between Equifax and EIS should be
       pierced. Erien clarifies in her Opposition, however, that she is not proceeding under such a theory. (Pl.'s Opp'n at 6, ECF
       No. 21). Accordingly, the Court does not address this argument.
7      See Greear v. Equifax, Inc., No. 13-11896, 2014 WL 1378777, at *1 (E.D. Mich. Apr. 8, 2014) (granting summary
       judgment in favor of Equifax because “Equifax[ ] is not a consumer reporting agency subject to the requirements of the
       FCRA”); Channing v. Equifax, Inc., No. 5:11-CV-293-FL, 2013 WL 593942, at *2 (E.D.N.C. Feb. 15, 2013) (granting
       summary judgment in favor of Equifax because it “is not a CRA, but rather is a holding company which does not own,
       receive, store, maintain, process, or otherwise exercise control over plaintiff’s consumer credit information”); Slice v.
       Choicedata Consumer Servs., Inc., No. 3:04-CV-428, 2005 WL 2030690, at *3 (E.D. Tenn. Aug. 23, 2005) (granting
       summary judgment in favor of Equifax because it “has not violated the FCRA as alleged because it is not a ‘consumer
       reporting agency’ and has not furnished or prepared a ‘consumer report’ on the plaintiff”).
8      Citations to Erien’s Opposition refer to the pagination the Court’s Case Management and Electronic Court Files (“CM/
       ECF”) system assigned.
9      In general, a court may not consider extrinsic evidence when resolving a Rule 12(b)(6) motion. See Chesapeake Bay
       Found., Inc. v. Severstal Sparrows Point, LLC, 794 F.Supp.2d 602, 611 (D. Md. 2011). A court may, however, consider
       documents referred to and relied upon in the complaint—“even if the documents are not attached as exhibits.” Fare Deals
       Ltd. v. World Choice Travel.com, Inc., 180 F.Supp.2d 678, 683 (D. Md. 2001); accord New Beckley Mining Corp. v. Int'l
       Union, United Mine Workers of Am., 18 F.3d 1161, 1164 (4th Cir. 1994). Because Erien refers to and relies upon the credit
       report she received from Equifax in the Amended Complaint, the Court considers it is assessing Equifax Defendants'
       Motion.
10     Equifax Defendants also argue that there is a distinction between a “consumer report” and a “consumer file” under the
       FRCA. They contend that a “consumer report” is transmitted to a third party, while a “consumer file,” by contrast, is
       sent to the consumer. As a result, Equifax Defendants argue, Erien necessarily received her consumer file because “the
       consumer, was the recipient.” (Defs.' Mot. Dismiss 1st Am. Compl. at 12–13, ECF No. 19). Like in Frazier, the Court
       does not address Equifax Defendants' argument because regardless of how the reports Erien received are classified,
       she alleges that they did not comply with the FCRA’s requirements. See Frazier, 2018 WL 3785131, at *4; see also Scott,
       2018 WL 3360754, at *6 (noting that even though there is a “legal distinction between a consumer ‘file’ and a ‘consumer
       report,’ ” the plaintiff “insists he received something less than his full consumer file disclosure”).
11     Erien also contends that Equifax is its subsidiaries' alter ego and, therefore, is a CRA. Because the Court concludes that
       Erien sufficiently pleads that Equifax is a CRA, is does not address this contention.
12     Erien alleges the following hypothetical omissions:
          information that was previously shown in her credit reports that is now archived and additional information that is
          provided to prospective creditors, insurers or employers who request information on Plaintiff that she has never seen
          or has been made aware of [and]
          negative codes among other things that are provided to prospective creditors, insurers or employers which directly
          affect how that prospective creditor, insurer or employer would view the Plaintiff in terms of granting credit, rating
          insurance policies or providing employment or even providing housing.
       (1st Am. Compl. ¶¶ 40–41).
13     In her Motion, Erien states that Trans Union does not oppose her filing of a Second Amended Complaint and Experian
       did not respond to her request for consent. (Pl.'s Mot. Leave File 2d Am. Compl. at 1, ECF No. 24).
14     Equifax Defendants raise two additional futility arguments. First, they again argue that Erien requested and, in turn,
       received a full consumer file disclosure because she, the consumer, was the recipient. Second, they again contend that
       Equifax is not a credit reporting agency, and therefore, Erien’s claims against Equifax fail as a matter of law. For the
       reasons discussed above, the Court rejects both of these arguments.


End of Document                                               © 2019 Thomson Reuters. No claim to original U.S. Government Works.




             Case  1:19-cv-00015-WCG
              © 2019                        Filed
                     Thomson Reuters. No claim     04/15/19
                                               to original      Page 9 of 9Works.
                                                           U.S. Government   Document 23-1                                     8
